Case: 5:16-cv-00041-DCR Doc #: 50 Filed: 03/23/17 Page: 1 of 8 - Page ID#: 256


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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY                       MAR 23 2017
                                   LEXINGTON DIVISION
                                                                                  AT LEXINGTON
                            CIVIL ACTION NO. 5:16-cv-00041-DCR                   ROBERT R. CARR
                                     Filed Electronically                   CLERK U.S. DISTRICT COURT



RE: 427 Earl Street, Danville, Kentucky 40422

UNITED STATES OF AMERICA,                                                      PLAINTIFF

VS.

ESTATE OF DAYID L. POLING, SR., ET AL,                                      DEFENDANTS


                        IN REM JUDGMENT AND ORDER OF SALE

                                        * * * * * *
       This matter having come before the Court upon the Plaintiffs Motion for an In Rem

Judgment and Order of Sale against the interests of the Defendants, Estate of David L. Poling,

Sr., Unknown Spouse of David L. Poling, Sr., Unknown Heirs of David L. Poling, Sr., Unknown

Spouses of Unknown Heirs of David L. Poling, Sr., Jamie E. Poling, Unknown Spouse of Jamie

E. Poling, David Lee Poling, Jr., and Unknown Spouse of David Lee Poling, Jr.; and judgment

on the pleadings against the interests of the Defendants, Commonwealth of Kentucky, City of

Danville, Kentucky, and Central Kentucky Management Services, Inc., in the real property

which is the subject of this action, and the Court having considered the Motion and its record

herein, and being otherwise sufficiently advised, it is

       ORDERED, ADJUDGED and DECREED herein as follows:

      1.       That the Plaintiffs said motion should be and the same is hereby GRANTED.

      2.       That the Plaintiff, the United States of America, be and it is hereby granted

Judgment as follows:



                                                  1
Case: 5:16-cv-00041-DCR Doc #: 50 Filed: 03/23/17 Page: 2 of 8 - Page ID#: 257




              a. In Rem Judgment and Order of Sale is hereby entered against the interests

                 of the Defendants, Estate of David L. Poling, Sr., Unknown Spouse of

                 David L. Poling, Sr., Unknown Heirs of David L. Poling, Sr., Unknown

                 Spouses of Unknown Heirs of David L. Poling, Sr., Jamie E. Poling,

                 Unknown Spouse of Jamie E. Poling, David Lee Poling, Jr., and Unknown

                 Spouse of David Lee Poling, Jr., in the real property which is the subject

                 of this action, in the principal sum of $35,708.77, with accrued interest of

                 $4,328.10 through June 16, 2015, with the total subsidy granted of

                 $41,650.36, escrow in the amount of $417.99, and with fees assessed of

                 $2,096.24, for a total unpaid balance due of $84,201.46.         Interest is

                 accruing on the unpaid principal balance at the rate of $8.2657 per day

                 after June 16, 2015, until the date of entry of the Judgment herein and

                 interest thereafter on the judgment at the rate of 1.01 percent per annum,

                 until paid, plus costs, disbursements and expenses.

              b. Judgment on the pleadings is hereby granted in favor of Defendant,

                 Commonwealth of Kentucky.            The Defendant, Commonwealth of

                 Kentucky, is hereby found to not have an interest in the subject real

                 property by virtue of its Answer [DE 11] filed on March 28, 2016.

              c. Judgment on the pleadings is hereby granted in favor of Defendant, City

                 of Danville, Kentucky. The Defendant, City of Danville, Kentucky, is

                 hereby found to have an interest in the subject real property by virtue of

                 Code Enforcement Liens of record in Encumbrance Book 56, Page 135

                 and a Code Enforcement Lien of record in Encumbrance Book 56, Page



                                           2
Case: 5:16-cv-00041-DCR Doc #: 50 Filed: 03/23/17 Page: 3 of 8 - Page ID#: 258




                       408, both in the Office of the Boyle County Clerk.            The interest of

                       Defendant, City of Danville, Kentucky, shall be superior in priority to the

                       first mortgage lien on the property in favor of the Plaintiff, United States.

                   d. Judgment on the pleadings is hereby granted in favor of Defendant,

                       Central Kentucky Management Services, Inc.           The Defendant, Central

                       Kentucky Management Services, Inc., is hereby found to have an interest

                       in the subject real property by virtue of Notice of Judgment Lien of record

                       in Encumbrance Book 29, Page 296 in the Office of the Boyle County

                       Clerk.    The interest of Defendant, Central Kentucky Management

                       Services, Inc., shall be inferior in priority to the first mortgage lien on the

                       property in favor of the Plaintiff, United States.

      3.       That federal liens attach to the real property which is the subject of this action, the

same being located in Boyle County, Kentucky, and more particularly described as follows

(hereinafter the "Property"):


               BEING Lot #3 of the Earl Street Subdivision and found of record in Plat
               File 227A, Boyle County Clerk's Office.

               Same property conveyed to David L. Poling, Sr. by deed of David N.
               Collier et ux dated May 10, 1995, recorded in Deed Book 326, Page 404,
               Boyle County Clerk's Office.


      4.       That the federal liens attaching to the Property shall be foreclosed and the

Property sold at auction, pursuant to Title 28, United States Code, Sections 2001 and 2002, in the

manner hereinafter set forth; and that the Property shall be sold free and clear of all liens, claims,

and rights of redemption of all the parties to this action, except for restrictions and easements of

record, zoning laws affecting the Property, municipal utility and/or maintenance liens, and any


                                                  3
Case: 5:16-cv-00041-DCR Doc #: 50 Filed: 03/23/17 Page: 4 of 8 - Page ID#: 259




city, county, state or school ad valorem taxes which may be due and payable or assessed against

the Property at the time of the sale. Payment of such property taxes and municipal utility or

maintenance charges shall be the responsibility of the purchaser of the Property at the foreclosure

sale.

        5.      That in accordance with the foregoing paragraph the following liens, to the extent

they affect the Property, shall be deemed to be released against the subject real property upon

entry herein of the Court's order confirming the foreclosure sale of the Property as more fully set

forth below:

                   a. Mortgage in favor of the United States Department of Agriculture, Rural

                       Development, recorded on May 10, 1995, in Mortgage Book 281, Page

                       612, in the Boyle County Clerk's Office;

                   b. Recoupment Lien in favor of Commonwealth of Kentucky recorded in

                       Encumbrance Book 54, Page 501, in the Boyle County Clerk's Office;

                   c. Code of Enforcement Lien in favor of City of Danville, Kentucky,

                       recorded in Encumbrance Book 56, Page 135 and a Code Enforcement

                       Lien of record in Encumbrance Book 56, Page 408, both in the Office of

                       the Boyle County Clerk; and

                   d. Lien in favor of Central Kentucky Management Services, Inc., recorded in

                       Encumbrance Book 29, Page 296 in the Office of the Boyle County Clerk

Such liens, with the exception of mortgage liens, shall remain in full force and effect against any

other real property which the Defendant owns or may acquire in the future.

        6.      That the United States Department of Agriculture, Rural Development, be and it

hereby is authorized and directed to offer the Property for sale at public auction. The sale shall be



                                                 4
Case: 5:16-cv-00041-DCR Doc #: 50 Filed: 03/23/17 Page: 5 of 8 - Page ID#: 260




conducted within Boyle County, Kentucky. Rural Development shall advertise the sale by

causing a notice of the sale, containing the time and place of the sale, a description of the

Property, and the terms of the sale, to be published no less than once a week for four consecutive

weeks prior to the sale in a daily newspaper of general circulation in Boyle County. Rural

Development shall pay the expenses of such advertising, and shall be reimbursed upon

distribution of the sale proceeds. Prior to the sale, Rural Development shall have the Property

appraised by a certified/licensed appraiser who shall be duly sworn by law before entering upon

such duties. Rural Development shall pay the customary fee for the appraisal, and shall be

reimbursed upon distribution of the sale proceeds. Neither the appraiser nor anyone acting on his

or her behalf may make a bid to purchase the Property. Should the purchase price for the

Property be less than two-thirds of its appraised value, the United States Marshal's deed

conveying the Property to the purchaser shall contain a lien in favor of the Defendants herein

who are the record, chain-of-title owners of the Property reflecting their right to redeem the

Property during the period for such redemption provided by law. Upon the sale of the Property,

the successful bidder may pay to the United States Marshal for the Eastern District of Kentucky

the purchase price in case or upon a credit of 60 days. At the sale, no bid (except as to Rural

Development and the other secured parties to this action who may credit bid against their

judgments herein) shall be accepted unless the same is accompanied by an immediate cash

deposit of at least 10% of the amount of the purchase price. The successful bidder(s) shall

execute a sales bond with good and sufficient surety, or shall provide a bank letter of credit, for

the balance of the purchase price. The requirement of a sales bond or a bank letter of credit may

be reasonably waived by the attorney for the United States. The successful bidder(s) must tender

the balance of the purchase price to the Lexington office of the United States Marshal within 60



                                                5
Case: 5:16-cv-00041-DCR Doc #: 50 Filed: 03/23/17 Page: 6 of 8 - Page ID#: 261




days following the date of the sale. Upon a default by the purchaser(s), the purchaser's initial

deposit shall be forfeited and retained by the United States Marshal to be subsequently disbursed

as a part of the proceeds of sale; whereupon the Property shall again be offered for sale in

compliance with this Judgment.

      7.       That the sale of the Property shall be subject to confirmation by this Court. As

soon as practicable following the sale, Rural Development shall cause to be filed of record herein

a Report of Sale. The Report of Sale shall set forth the times and place of the sale, the appraised

value of the Property, the purchase price, the identity and addresses of the purchasers, a

statement of how the purchasers wish to take title to the Property, and the advertising, appraisal

and other expenses of the sale incurred by Rural Development. The Report of Sale shall lay over

for objections and exceptions for ten days after the filing of the Report. After the Report has laid

over for ten days, the United States shall forthwith file a motion herein for confirmation of the

sale and for entry of an order directing the United States Marshal to execute a deed of

conveyance of the Property to the purchaser. The attorney for the United States shall prepare the

Marshal's deed. The United States Marshal is not required to generally warrant title to the

Property, and in no event shall the Marshal be personally obligated in any manner whatsoever.

The Marshal shall tender the deed to the Court for approval and endorsement. The Marshal shall

not deliver or cause delivery of the deed to the purchaser of the Property until such time as the

sale has been confirmed by the Court, the deed has been examined and approved by the Court,

and the purchase price has been paid in full to the Marshal. Fallowing confirmation of the sale,

payment in full of the purchase price, and delivery of the deed, the United States shall forthwith

file of record herein a motion for distribution of the sale proceeds, and to have this action

stricken from the Court's active docket.



                                                 6
Case: 5:16-cv-00041-DCR Doc #: 50 Filed: 03/23/17 Page: 7 of 8 - Page ID#: 262




        8.     That the proceeds of the sale of the Property shall be subjected first to the

payment of the costs of this action and the sale, then toward satisfaction of the Plaintiff's

Judgment against the Defendants, and thereafter as this Court shall direct.

        9.     That in order to conduct the foreclosure sale of the Property, the United States

shall have possession of the Property. Any persons now possessing or occupying the Property

shall make the same available for inspection upon reasonable notes by the United States, and all

such persons now possessing or occupying the Property shall completely move out of the

Property not later than 30 days from the date of entry of this Judgment. Should any such person

fail to move out of the Property in compliance with this Judgment, the United States shall, upon

motion, be entitled to the entry of a Writ of Assistance providing for the eviction of such persons

from the Property. Upon request of Rural Development or the attorney for the United States, the

United States Marshal for the Eastern District of Kentucky is hereby authorized and directed to

perform any an all acts which may be reasonable required to protect the Property and to maintain

the peace at the sale of the Property or at the eviction of persons who fail to comply with his

Judgment.

        10.    That this action is now continued for confirmation of the sale of the Property,

distribution of the sales proceeds, and for such further orders and judgments as may be

necessary.

Date:   /1wA Z,t Z!:J/7




                                                 7
Case: 5:16-cv-00041-DCR Doc #: 50 Filed: 03/23/17 Page: 8 of 8 - Page ID#: 263




PREPARED BY:


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Distribution:

1 attested copy:   Defendants




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